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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

E. JEAN CARROLL,
                                           ECF Case
                    Plaintiff,
                                           No. 1:20-cv-7311-LAK-JLC
              -against-

DONALD J. TRUMP, in his personal
capacity,

                    Defendant.


          MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

      Pursuant to Local Civil Rule 1.4, the undersigned respectfully seeks leave to

withdraw his appearance as attorney for the United States in this matter due to his

upcoming departure from the Department of Justice. The United States will continue

to be represented by Stephen Terrell, who has entered his appearance previously.

The undersigned is not asserting a retaining or charging lien.



Dated: January 18, 2021                               s/ William K. Lane III
                                                     WILLIAM K. LANE III
                                                     Counsel
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